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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                            UNITED STATES DISTRICT COURT                                May 09, 2025
                             SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                 HOUSTON DIVISION


TERRY MONSKY, et al.,                  §
                                       §
      Plaintiffs,                      §
                                       §
VS.                                    §            CIVIL ACTION NO. 4:24-CV-01940
                                       §
DIRECT DIGITAL HOLDINGS, INC., et al., §
                                       §
      Defendants.                      §
                                       §

                                            ORDER

       The Court has considered Lead Plaintiff’s Motion for Leave to File a Sur-Reply to

Defendants’ Reply in Support of Motion to Dismiss (Dkt. No. 47), any response or replies thereto,

and any argument of counsel. IT IS HEREBY ORDERED that Lead Plaintiff’s Motion is

GRANTED. The Clerk is directed to file Lead Plaintiff’s Sur-Reply to Defendants’ Reply in

Support of Motion to Dismiss, attached as Exhibit “A”, to its Motion for Leave as of the date of

this Order.

       It is so ORDERED.

       SIGNED on May 9, 2025, at Houston, Texas.


                                                     _________________________________
                                                     Kenneth M. Hoyt
                                                     United States District Judge




1/1
